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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

In re:
                                               Chapter 7
GEORGE W. SCHWAN.,                             Case No. 3:17-bk-00912-JAF

                   Debtor.
                                       /

                               DEBTOR’S WITNESS LIST

         George W. Schwan, (the “Debtor”), by counsel, and pursuant this Court’s Order

Scheduling Trial (Doc. No. 40) on (i) Creditor, Linda Diamond’s Motion to Dismiss

Chapter 7 Case Pursuant to 11 U.S.C. § 707(a) (Doc. No. 27), filed by Linda Diamond

(“Diamond”), (ii) Debtor’s Response in Opposition to Linda Diamond’s Motion to Dismiss

Chapter 7 Case Pursuant to 11 U.S.C. § 707(a) (Doc. No. 30), and (iii) Trustee’s Response

in Opposition to Creditor, Linda Diamond’s Motion to Dismiss Chapter 7 Case Pursuant to

11 U.S.C. § 707(a) (Doc. No. 32), filed by Aaron Cohen (“Trustee”), hereby provides the

names of (a) the witnesses the Debtor expects to present and (b) the witnesses the Debtor

may call if the need arises at the trial currently scheduled for January 11, 2018 at 10:00 a.m..

The addresses of such witnesses, if known, are also being provided.

    A. Witnesses Expected to Present

         1. George Schwan, 1823 Barksdale Drive, The Villages, FL 32162;

         2. Diane Schwan, 1823 Barksdale Drive, The Villages, FL 32162;

       3. Linda Diamond, c/o Christian W. Waugh, 13940 U.S. Highway 441, Suite
906, The Villages, FL 32159;

       4. Aaron R. Cohen, c/o Jacob A. Brown, 50 North Laura Street, Suite 3100,
Jacksonville, FL 32202.




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    B. Witnesses That May Be Called if Need Arises:

        1. Other witnesses identified through the discovery process;

        2. Any witnesses identified or listed by Diamond, to the extent that the Debtor
           does not object to the testimony of such witnesses;

        3. Any witnesses identified or listed by the Trustee, to the extent that the Debtor
           does not object to the testimony of such witnesses;

        4. Rebuttal witnesses as needed.

The Debtor reserves the right to amend and supplement this witness list.

        Dated this 27th day of September, 2017.



                                               /s/ Eric D. Jacobs
                                              David S. Jennis
                                              Florida Bar No. 775940
                                              Eric D. Jacobs
                                              Florida Bar No. 85992
                                              Jennis Law Firm
                                              606 East Madison Street
                                              Tampa, FL 33602
                                              Telephone: (813) 229-2800
                                              Facsimile: (813) 229-1707
                                              Email: ejacobs@jennislaw.com


                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has
been furnished cm/ecf to: Linda Diamond, c/o Christian W. Waugh, 13940 U.S.
Highway 441, Suite 906, The Villages, FL 32159; Aaron R. Cohen, PO Box
4218, Jacksonville, FL 32201; United States Trustee’s Office, George C.
Young Federal Building 400, West Washington Street, Suite 1100, Orlando, FL
32801; Jacob A. Brown, Akerman, LLP, 50 North Laura Street, Suite 3100,
Jacksonville, FL 32202; and to those creditors and parties in interest who receive
service via CM/ECF in the ordinary course of business on this 27th day of
September, 2017.


                                              /s/ Eric Jacobs
                                              Eric Jacobs



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